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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,
                                                       Civil Action No. 1:23-cv-01346-JSR
                          Plaintiff,
        v.
                                                                Hon. Jed S. Rakoff
 TERRAFORM LABS, PTE. LTD. and DO
 HYEONG KWON,
                          Defendants.


    DECLARATION OF DOUGLAS W. HENKIN IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE SECURITIES AND EXCHANGE COMMISSION’S
                        AMENDED COMPLAINT

       Douglas W. Henkin declares, pursuant to 28 U.S.C. § 1746, as follows:
       1.       I am an attorney duly admitted to practice law before this Court and a partner with
the law firm of Dentons U.S. LLP, counsel for Defendants Terraform Labs Pte. Ltd (“TFL”) and
Do Kwon in the above-captioned action. I make this Declaration in support of the Motion to
Dismiss filed by TFL and Mr. Kwon. This declaration is based on my personal knowledge except
as otherwise indicated.
       2.       Attached hereto are true and correct copies of the following documents:

                Exhibit A. Evan Kereiakes et al., Terra Money: Stability and Adoption,
                April 2019.

                Exhibit B. Nicholas Platias et al., Anchor: Gold Standard for Passive
                Income on the Blockchain, June 2020.

                Exhibit C. LFG Press Release, Luna Foundation Guard (LFG)
                Officially Formed as Non-Profit Organization Dedicated to Supporting
                The Terra Ecoystem and Open-Source Technology, January 19, 2022.

                Exhibit D. LFG Press Release, Luna Foundation Guard (LFG) Raises
                $1 Billion for a Bitcoin-Denominated Forex Reserve for Terra’s UST
                Stablecoin, February 22, 2022.

                Exhibit E. LFG Twitter Thread, May 16, 2022.

                Exhibit F. TFL Twitter Thread, May 12–16, 2022.

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    Exhibit G. SEC Formal Order of Investigation, In the Matter of Mirror
    Protocol, HO-14164, May 7, 2021.

    Exhibit H. Master Loan Agreement, September 8, 2020; First Loan
    Modification, April 1, 2021.

    Exhibit I. Mirror: a synthetic assets protocol, September 2020.

    Exhibit J. MIR Token Projections, September 2020.

    Exhibit K. Luna Token Sale Agreement, September 13, 2018.

    Exhibit L. Terra Medium Post, Terra partners with mobile payment app
    CHAI to service the growing eCommerce market, June 11, 2019.

    Exhibit M. Daniel Hwang Medium Post, Terra Ecosystem Update:
    CHAI’s Expansion — Integration into Toomics & Happy Money, April
    22, 2020.

    Exhibit N. Do Kwon, Agora Thread – Reserve Withdrawals and UST
    Market Sales, March 19, 2021.

    Exhibit O. Transcript: The Ship Show (Podcast), March 1, 2022.

    Exhibit P. TFL Twitter Thread, May 24, 2021.

    Exhibit Q. Second Loan Modification, July 21, 2021.

    Exhibit R. Mirror Executive Summary, September 2020.

    Exhibit S. Nicolas Andreoulis, Economics of Seigniorage – The Case of
    Chai, February 2020.

    Exhibit T. NYSE Domestic Company Listing Agreement.

    Exhibit U. History.com, UNIVAC Computer Entry.

    Exhibit V. Coinbase Listing Services Agreement, April 26, 2023.

    Exhibit W. Gary Gensler, SEC Chair, Remarks Before the Aspen
    Security Forum, August 3, 2021.

    Exhibit X. Hester M. Peirce, SEC Comm’r, Outdated: Remarks Before
    the Digital Assets at Duke Conference, January 20, 2023.



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    Exhibit Y. Hester M. Peirce, SEC Comm’r, Rendering Innovation
    Kaput: Statement on Amending the Definition of Exchange, April 14,
    2023.

    Exhibit Z. Jesse Coghlan, Stablecoins and Ether are ‘going to be
    commodities,’ reaffirms CFTC chair, Cointelegraph, March 9, 2023.

    Exhibit AA. President's Working Group on Financial Markets, the
    Federal Deposit Insurance Corporation, and the Office of the
    Comptroller of the Currency, Report on Stablecoins, November 2021.

    Exhibit BB. Jason Brett, Chair of New House Crypto Panel to Focus on
    Legal Clarity for Digital Assets, Forbes, January 30, 2023.

    Exhibit CC. MacKenzie Sigalos, SEC’s Hester Peirce says the U.S. has
    dropped the ball on crypto regulation, CNBC, May 25, 2022.

    Exhibit DD. Tomicah Tillemann et al., Our Proposals to the Senate
    Banking Committee, a16zcrypto, October 5, 2021.

    Exhibit EE. Investor Advisory Committee, Letter to the SEC Chair,
    April 6, 2023.

    Exhibit FF. Jay Clayton, SEC Chair, Letter to Tedd Budd,
    Congressman, March 7, 2019.

    Exhibit GG. Gary Gensler, SEC Chair, Prepared Testimony Before the
    United States House of Representatives Committee on Financial
    Services, April 18, 2023.

    Exhibit HH. House Committee on Financial Services, Letter to Gary
    Gensler, SEC Chair, April 18, 2023.

    Exhibit II. William Hinman, Director, Div. of Corp. Fin., SEC, Digital
    Asset Transactions: When Howey Met Gary (Plastic), June 14, 2018.

    Exhibit JJ. Coinbase, Coinbase Supported Assets, March 29, 2023.

    Exhibit KK. SEC, The Regulatory Regime for Security-Based Swaps.

    Exhibit LL. Terra Docs, Send,
    https://docs.terra.money/learn/station/send/.

    Exhibit MM. Daniel Kuhn, Most Influential 2021: Do Kwon, CoinDesk,
    December 10, 2021.



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             Exhibit NN. UST Circulating Supply vs. UST Closing Price, May 15–
             31, 2021; UST Closing Price vs. Transaction Volume, May 20–30 2021
             (created from data publicly available on CoinMarketCap).

             Exhibit OO. Stanford Liu and Irene Lee, Mirror Protocol V2, June 15,
             2021.
      I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge.
      Executed on April 21, 2023 in New York, New York.


                                           /s/ Douglas W. Henkin
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